                                        UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                          DOCKET NO. 3:16-cr-221-MOC


               UNITED STATES OF AMERICA,                 )
                                                         )
                                                         )
               v.                                        )                  ORDER
                                                         )
               PAULA SACCOMANNO and                      )
               DENNIS SWERDLEN,                          )

                                Defendants.




                         THIS MATTER is before the court on the parties’ Joint Motion to Continue

              Sentencing Hearings (#212). Having considered the motion and reviewed the pleadings,

              the court enters the following Order.

                                                       ORDER

                         IT IS, THEREFORE, ORDERED that the parties’ Joint Motion to Continue

              Sentencing Hearings (#212) is GRANTED, and the Clerk of Court is respectfully

              instructed to place the sentencing hearings for defendants on the next appropriate

              sentencing calendar.



Signed: March 13, 2018




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